                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:09-CR-28
vs.                                                 )
                                                    )
JAHALA SANDERS                                      )       JUDGE COLLIER


                               MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on September 2, 2011, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
for Offender Under Supervision (Petition) of U.S. Probation Officer Sladjuana Hays and the Warrant
for Arrest issued by Chief U.S. District Judge Curtis L. Collier. Those present for the hearing
included:

               (1) AUSA James Brooks for the USA.
               (2) The defendant JAHALA SANDERS.
               (3) USPO Sladjuana Hayes.
               (4) Attorney Tony Martinez for defendant.
               (5) Deputy Clerk Barbara Lewis.

        After being sworn in due form of law the defendant was informed or reminded of her
privilege against self-incrimination accorded her under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and she qualified
for the appointment of an attorney to represent her at government expense. Federal Defender
Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was determined
the defendant had been provided with a copy of the Petition and the Warrant for Arrest and had the
opportunity of reviewing those documents with Atty. Martinez. It was also determined the defendant
was capable of being able to read and understand the copy of the aforesaid documents she had been
provided.

       AUSA Brooks called USPO Sladjuana Hayes as a witness, and has agreed to bond conditions
suggested by the undersigned pending the revocation hearing.

                                            Findings

       (1) Based upon USPO Hayes’ testimony and the Petition, the undersigned finds there
       is probable cause to believe defendant has committed violations of her conditions of

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      supervised release as alleged or set forth in the Petition but finds there are conditions
      which will ensure the safety of the community and the defendant’s appearance at
      court proceedings.

                                           Conclusions

      It is ORDERED:

      (1) AUSA Brooks has agreed that defendant should be released on an OR bond bond
      pending further hearings.

      (2) The defendant shall next appear for a status hearing before the undersigned on
      Thursday, September 15, 2011, at 10:00 am.

      (2) The defendant shall thereafter appear for a revocation hearing before Judge
      Collier on Thursday, September 29, 2011, at 9:00 a.m.

      ENTER.

                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




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